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                                UNITED STATES DISTRICT COURT
                                          FOR THE                            2823 HAY I 8 AH 11 : I J
                                    DISTRICT OF VERMONT

James T. Burke,

                  Plaintiff,

                  v.                                    Civil Action No. 5:21-cv-265-gwc-kjd

James Baker; Nicholas Deml, Commissioner;
State of Vermont; Ms. Johnson,

                  Defendants.

                                    ORDER OF DISMISSAL

        On March 9, 2023, the court adopted the Report and Recommendation ("R&R") of

Magistrate Judge Kevin Doyle and dismissed Plaintiff James T. Burke's Complaint without

prejudice. (Doc. 56.) Mr. Burke was allowed sixty days, or until May 8, 2023, to file an

Amended Complaint "on the limited basis" explained in the R&R and summarized by the court.

The court determined that it would be futile for Mr. Burke to amend his complaint against the

State of Vermont, Commissioner Demi, and Ms. Johnson, however, he "may attempt to cure his

claims against Mr. Baker." Id. at 5.

        As of the date of this Order, no further filings have been received. Consequently, this

case is DISMISSED WITHOUT PREJUDICE; the Clerk of Court is directed to close the case

file.

        SO ORDERED.

        Dated at Burlington, in the District of Vermont, this 18 th day of May 2023.



                                                     Geoffrey W. Crawford, Chief Judge
                                                     United States District Court
